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                            UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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 10    HORACE LUCIOUS,                             Case No. 5:21-cv-370-VAP (MAR)
 11                               Plaintiff,
 12                        v.                      ORDER ACCEPTING FINDINGS
                                                   AND RECOMMENDATION OF
 13    B.O.P.,                                     UNITED STATES MAGISTRATE
                                                   JUDGE
 14                               Defendant.
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 17         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Complaint, the
 18   relevant records on file, and the Report and Recommendation of the United States
 19   Magistrate Judge. No objections have been filed. The Court accepts the findings and
 20   recommendation of the Magistrate Judge.
 21         IT IS THEREFORE ORDERED that Judgment be entered dismissing this
 22   action without prejudice.
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 24   Dated: September 23, 2021
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 26                                            HONORABLE VIRGINIA A. PHILLIPS
 27                                            United States District Judge

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